
65 N.Y.2d 963 (1985)
In the Matter of Gerald H. Liepshutz, Respondent,
v.
Lawrence Palmateer, Jr., et al., Constituting the Greene County Board of Elections, Respondents, and James Battisti, Appellant.
Court of Appeals of the State of New York.
Argued August 26, 1985.
Decided August 28, 1985.
Thomas J. Spargo for appellant.
Paul M. Whitaker for respondent.
Concur: Chief Judge WACHTLER and Judges JASEN, MEYER, SIMONS, KAYE, ALEXANDER and TITONE.
Order affirmed, without costs, for the reasons stated in the memorandum at the Appellate Division (112 AD2d ___).
